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                                                                                                 5/5/2025
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------   X   Docket No.: 7:24-cv-05147-NSR
 KEVIN ADAMS, AS THE ADMINISTRATOR                                :
 OF THE ESTATE OF SEAN HARRIS,                                    :
                                                                  :
 Plaintiff,                                                       :        CONFIDENTIALITY
                                                                  :   STIPULATION AND PROPOSED
 -against-                                                        :       PROTECTIVE ORDER
                                                                  :
 TOWN OF CLARKSTOWN, POLICE OFFICERS                              :
 DOES #1-60, POLICE SUPERVISOR DOE #1,                            :
 DETECTIVE NORM PETERS, ROCKLAND                                  :
 COUNTY, ACCESS SUPPORTS FOR LIVING,                              :
 ACCESS CASEWORKERS JANE DOES #1-2,                               :
 ROCKLAND PARAMEDICS, PARAMEDICS                                  :
 DOES #1-2, NYACK COMMUNITY                                       :
 AMBULANCE CORPS, EMT KELLY                                       :
 MCHUGH, EMT ROSA LATANZO,                                        :
                                                                  :
 Defendants.
 ---------------------------------------------------------------- X


         WHEREAS, the parties having agreed to the following terms of confidentiality,

and the Court having found that good cause exists for the issuance of an appropriately

tailored confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil

Procedure, it is hereby

           ORDERED that the following restrictions and procedures shall apply to the

information and documents exchanged by the parties in connection with the pre-trial

phase of this action:

           1.        Counsel for any party may designate any document or information, in

 whole or in part, as confidential if counsel determines, in good faith, that such

 designation is necessary to protect the interests of the client in information that is

 proprietary, a trade secret, or otherwise sensitive non-public information (“Confidential

 Information”). Information and documents designated by a party as confidential will be

 stamped “CONFIDENTIAL.”


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        2.      The Confidential Information disclosed will be held and used by the

 person receiving such information solely for use in connection with the action.

        3.      In the event a party challenges another party’s designation of

 confidentiality, counsel shall make a good faith effort to resolve the dispute, and in the

 absence of a resolution, the challenging party may seek resolution by the Court.

 Nothing in this Protective Order constitutes an admission by any party that Confidential

 Information disclosed in this case is relevant or admissible. Each party reserves the right

 to object to the use or admissibility of the Confidential Information.

        4.      Documents designated as “CONFIDENTIAL” shall not be disclosed to

 any person, except:

                 a.       The requesting party and counsel, including in-house counsel;

                 b.       Employees of such counsel assigned to and necessary to assist in

                          the litigation;

                 c.       Consultants or experts assisting in the prosecution or defense of

                          the matter, to the extent deemed necessary by counsel; and

                 d.       The Court (including the mediator, or other person having access

                          to any Confidential Information by virtue of his or her position

                          with the Court).

The parties should meet and confer if any production requires a designation of “For

Attorneys’ or Experts’ Eyes Only.”

         5.      Prior to disclosing or displaying the Confidential Information to any

  person, counsel must:

                 a.       Inform the person of the confidential nature of the information

                          or documents;


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                 b.      Inform the person that this Court has enjoined the use of the

                         information or documents by him/her for any purpose other than

                         this litigation and has enjoined the disclosure of the information

                         or documents to any other person; and

                 c.      Require each such person to sign an agreement to be bound by

                         this Order in the form attached as Exhibit A.

            6.   The disclosure of a document or information without designating it as

“CONFIDENTIAL” shall not constitute a waiver of the right to designate such document

or information as Confidential Information. If so designated, the document or information

shall thereafter be treated as Confidential Information subject to all the terms of this

Stipulation and Order.

       7.        Any Personally Identifying Information (“PII”) (e.g., social security

numbers, financial account numbers, passwords and information that may be used for

identity theft) exchanged in discovery shall be maintained by the receiving party in a

manner that is secure

       8.        Pursuant to Federal Rule of Evidence 502, the production of privileged

or work product protected documents or communications, electronically stored

information (“ESI”) or information, whether inadvertent or otherwise, shall not constitute

a waiver of the privilege or protection from discovery in this case or in any other federal

or state proceeding. This Order shall be interpreted to provide the maximum protection

allowed by Federal Rule of Evidence 502(d). Nothing contained herein is intended to or

shall serve to limit a party’s right to conduct a review of documents, ESI or information

(including metadata) for relevance, responsiveness and/or segregation of privileged and/or

protected information before production.


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       9.         Notwithstanding       the       designation   of     information      as

“CONFIDENTIAL” in discovery, there is no presumption that such information shall

be filed with the Court under seal. The parties shall follow the Court’s procedures for

requests for filing under seal.

       10.        At the conclusion of litigation, Confidential Information and any

copies thereof shall be promptly (and in no event later than 30 days after entry of final

judgment no longer subject to further appeal) returned to the producing party or, upon

permission of the producing party, destroyed, except that the parties’ counsel shall be

permitted to retain their working files on the condition that those files will remain

protected.

        11.    Nothing herein shall preclude the parties from disclosing material designated

to be Confidential Information if otherwise required by law or pursuant to a valid subpoena.



SO STIPULATED AND AGREED.


Dated: May 1, 2025
       White Plains, New York




         Dated: May 5, 2025
               White Plains, NY




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                                                    EXHIBIT A


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------        X Docket No.: 7:24-cv-05147-NSR
KEVIN ADAMS, AS THE ADMINISTRATOR OF THE                                      :
ESTATE OF SEAN HARRIS,                                                        :
                                                                              :
                                    Plaintiff,                                :      NON-DISCLOSURE
                                                                              :         AGREEMENT
                  -against-                                                   :
                                                                              :
TOWN OF CLARKSTOWN, POLICE OFFICERS                                           :
DOES #1-60, POLICE SUPERVISOR DOE #1,                                         :
DETECTIVE NORM PETERS, ROCKLAND COUNTY,                                       :
ACCESS SUPPORTS FOR LIVING, ACCESS                                            :
CASEWORKERS JANE DOES #1-2, ROCKLAND                                          :
PARAMEDICS, PARAMEDICS DOES #1-2, NYACK                                       :
COMMUNITY AMBULANCE CORPS, EMT KELLY                                          :
MCHUGH, EMT ROSA LATANZO,                                                     :
                                                                              :
                                    Defendants.                               :
----------------------------------------------------------------------        X

        I have been informed by counsel that certain documents or information to be disclosed to

me in connection with the matter entitled _                                                  have been

designated as confidential. I have been informed that any such documents or information labeled

“CONFIDENTIAL” are confidential by Order of the Court. I hereby agree that I will not disclose

any information contained in such documents to any other person. I further agree not to use any

such information for any purpose other than this litigation.

Dated: ________________________ , 20




          Name (printed)                                        Signature


          Signed in the presence of:
                                           (Attorney)

                                                          1
